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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA

SALLY BEHR OGDEN,
                                                        CIVIL ACTION NO.
            Plaintiff,                               4:19-CV-00234-WTM-CLR

v.

JOHN HERBERT OGDEN,

            Defendant.


           ANSWER OF DEFENDANT JOHN HERBERT OGDEN

      Defendant John Herbert Ogden, through his undersigned counsel of record,

hereby files this Answer to Plaintiff Sally Behr Ogden’s Complaint:

                          AFFIRMATIVE DEFENSES

      Each of the defenses set forth herein is stated as a separate and distinct

defense, in the alternative to, and without waiving, any of the other defenses which

are herein or which may hereafter be pleaded. Defendant reserves the right to raise

such additional affirmative and other defenses as may be established during

discovery and by the evidence in this case. Defendant asserts the following

specific defenses:

                                 FIRST DEFENSE

      The Complaint fails to state a claim upon which relief may be granted.




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                                SECOND DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant acted

lawfully and in good faith at all times relevant to the Complaint.

                                 THIRD DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver

and/or estoppel.

                                FOURTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by the doctrine of accord

and satisfaction.

                                    FIFTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by a failure of

consideration.

                                 SIXTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by the doctrine of payment.

                               SEVENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by the doctrines of

acquiescence and/or ratification.

                                EIGHTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by the express terms,

conditions and limitations of written contracts between the parties.




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                                  NINTH DEFENSE

      Defendant incorporates herein and relies upon any and all defenses

contained in any applicable state statute or law.

      Defendant responds to the separately numbered paragraphs in the Complaint

as follows. To the extent the headings and subheadings in the Complaint allege

facts, they are denied. All allegations in the Complaint not specifically admitted

herein are denied.

                        Statement of Jurisdiction and Venue

      1.       Defendant is without knowledge as to the allegations in Paragraph 1.

To the extent a response is required, Defendant denies the allegations in Paragraph

1.

      2.       Defendant admits the allegations in Paragraph 2.

      3.       Defendant denies the allegations in Paragraph 3.

      4.       Paragraph 4 contains a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations in

Paragraph 4.

      5.       Paragraph 5 contains a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations in

Paragraph 5.




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                                 FIRST COUNT
                               (Breach of Contract)

      1-5. In response to Paragraphs 1-5, Defendant adopts and incorporates his

responses to Paragraphs 1 through 5 of his Answer as if stated herein.

      6.     Defendant admits the allegations in Paragraph 6.

      7.     Defendant admits the allegations in Paragraph 7.

      8.     Defendant admits the allegations in Paragraph 8.

      9.     In response to Paragraph 9, Defendant states that the Agreement is a

written document that speaks for itself as to its content and legal effect. Defendant

denies all allegations in Paragraph 9 that are not consistent with the terms of the

Agreement.

      10.    Defendant admits the allegations in the first sentence of Paragraph 10.

Defendant denies the allegations in the second sentence of Paragraph 10.

      11.     The allegations in Paragraph 11 reference the Agreement, which is a

written document that speaks for itself as to its content and legal effect. Defendant

denies all allegations in Paragraph 11 that are inconsistent with the Agreement.

      12.    In response to Paragraph 12, Defendant states that Plaintiff failed to

attach Exhibit B to the Complaint, which would otherwise constitute a written

document that speaks for itself as to its content and legal effect. To the extent a

response is required, Defendant denies the allegations in Paragraph 12.




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      13.    In response to Paragraph 13, Defendant states that Plaintiff failed to

attach Exhibit C to the Complaint, which would otherwise constitute a written

document that speaks for itself as to its content and legal effect. To the extent a

response is required, Defendant denies the allegations in Paragraph 13.

      14.    Defendant admits the allegations in the first sentence of Paragraph 14,

but states that “other debt” was incurred with respect to the property as

contemplated by Section 8.1A(i) of the Agreement. Defendant denies the

allegations in the second sentence of Paragraph 14.

      15.    Defendant denies the allegations in Paragraph 15.

      16.    Defendant denies the allegations in Paragraph 16.

      17.    The allegations in Paragraph 17 reference the Agreement, which is a

written document that speaks for itself as to its content and legal effect. Defendant

denies all allegations in Paragraph 17 that are inconsistent with the Agreement.

Defendant further denies the allegations in the last sentence of Paragraph 17.

      18.    Defendant denies the allegations in Paragraph 18.

      19.    Defendant denies the allegations in Paragraph 19.

      20.    Paragraph 20 contains a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations in

Paragraph 20.




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                                SECOND COUNT
                            (Breach of Fiduciary Duty)

      1-20. In response to Paragraphs 1-20, Defendant adopts and incorporates his

responses to Paragraphs 1 through 20 of his Answer as if fully stated herein.

      21.    Paragraph 21 contains a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations in

Paragraph 21.

      22.    Defendant denies the allegations in Paragraph 22.

      23.    Paragraph 23 contains a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies the allegations in

Paragraph 23.

      Defendant denies that Plaintiff is entitled to any remedy or relief sought.

      WHEREFORE, having fully responded to Plaintiff’s Complaint, Defendant

requests:

      (a)    that the Court dismiss this action in its entirety with prejudice;

      (b)    that the Court enter judgment in favor of Defendant and against

Plaintiff on all claims asserted in Plaintiff’s Complaint;

      (c)    that Plaintiff be taxed with all costs and attorneys’ fees incurred by

Defendant in defending this action; and

      (d)    that the Court award Defendant such other and further relief as the

Court may deem just and proper.



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Dated: November 21, 2019        By: /s/ Brian P. Watt
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                                Attorneys for Defendant
                                JOHN HERBERT OGDEN




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                          CERTIFICATE OF SERVICE

      I hereby certify that on November 21, 2019, I electronically filed the

foregoing Answer with the Clerk of the Court using the CM/ECF system which

sent notification of such filing to all counsel of record.

      This 21st day of November, 2019.

                                         By: /s/ Brian P. Watt
                                             Brian P. Watt
                                             Georgia Bar No. 741841




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